         Case 3:16-md-02741-VC Document 8506-1 Filed 12/20/19 Page 1 of 4




 1
                                   UNITED STATES DISTRICT COURT
 2
                                 NORTHERN DISTRICT OF CALIFORNIA
 3

 4                                                     )
 5   IN RE: ROUNDUP PRODUCTS                           ) MDL No. 2741
     LIABILITY LITIGATION                              )
 6                                                     ) Case No. 3:16-md-02741-VC
                                                       )
 7                                                     ) DECLARATION OF BRIAN L.
     This document relates to:
                                                       ) STEKLOFF IN SUPPORT OF
 8   Dickey v. Monsanto Co., 3:19-cv-04102             ) MONSANTO COMPANY’S
     Domina v. Monsanto Co., 3:16-cv-05887             ) ADMINISTRATIVE MOTION TO FILE
 9   Giglio v. Monsanto Co., 3:16-cv-05658             ) UNDER SEAL PORTIONS OF EXHIBITS
     Janzen v. Monsanto Co., 3:19-cv-04103
10   Mendoza v. Monsanto Co., 3:16-cv-06046            ) FILED IN SUPPORT OF MOTION TO
     Perkins v. Monsanto Co., 3:16-cv-06025            ) EXCLUDE DR. BENBROOK
11   Pollard v. Monsanto Co., 3:19-cv-04100            )
     Russo v. Monsanto Co., 3:16-cv-06024
12   Sanders v. Monsanto Co., 3:16-cv-05752
     Tanner v. Monsanto Co., 3:19-cv-04099
13

14
            I, Brian L. Stekloff, hereby declare as follows:
15
            1.      I am a Partner in the law firm of Wilkinson Walsh + Eskovitz. My firm is counsel to
16
     Monsanto in the above-captioned actions.
17
            2.      Monsanto’s Administrative Motion to File Under Seal Portions of Exhibits Filed in
18
     Support of Motion to Exclude Dr. Benbrook (“the Motion”) seeks to maintain the confidentiality of
19
     (a) Plaintiffs’ social-security numbers and dates of birth; (b) addresses and all medical information
20
     for all Plaintiffs, other than the fact of NHL diagnosis and the treatment for that condition; and (c)
21
     Monsanto’s confidential information, specifically limited redactions to protect either the identities
22
     of individuals from the European Union based on European privacy law, or Monsanto’s trade
23
     secret, proprietary information about Roundup® product formulations.
24
     Plaintiffs’ Medical Information:
25
            3.      Fed. R. Civ. P. 5.2 provides that certain personally identifiable information,
26
     including an individual’s social-security number and birth date, generally must be redacted.
27

28                                                   -1-
       DECLARATION OF BRIAN STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
      MOTION TO FILE UNDER SEAL PORTIONS OF EXHIBITS FILED IN SUPPORT OF MOTION TO EXCLUDE
       DR. BENBROOK; 3:16-MD-02741-VC; 3:19-CV-04102; 3:16-cv-05887; 3:16-cv-05658; 3:19-cv-04103;3:16-cv-
                 06046 3:16-cv-06025; 3:19-cv-04100; 3:16-cv-06024; 3:16-cv-05752;3:19-cv-04099
         Case 3:16-md-02741-VC Document 8506-1 Filed 12/20/19 Page 2 of 4



            4.       Co-Lead Counsel for Plaintiffs in this litigation requested that addresses and all
 1
     medical information for all Plaintiffs, besides the fact of NHL diagnosis and the treatment for that
 2
     condition, be redacted, pursuant to the Amended Protective Order. This information has been
 3
     designated as “Confidential” by Plaintiffs pursuant to the Amended Protective Order (MDL Doc. #
 4
     519; Pre-Trial Order No. 30).
 5
            5.       Pursuant to Plaintiffs’ request as the Designating Party and Fed. R. Civ. P. 5.2,
 6
     Monsanto has prepared proposed redactions of the following documents:
 7
                 •   Pages 1, 17, 18 of August 20, 2019, Dr. Charles Benbrook Expert Report, Appendix
 8
                     A Resume, attached as Exhibit 10 to the Motion.
 9
                 •   Page 105:11 of the Deposition of Dr. Charles Benbrook, taken September 13, 2018,
10
                     for Adams, et al. v. Monsanto Company, St. Louis County Case No. 17SL-CC02721,
11
                     attached as Exhibit 13 to the Motion.
12
     Monsanto’s Confidentiality Redactions
13
            6.       Monsanto also seeks to maintain the confidentiality of certain limited portions of
14
     reports and deposition transcripts that contain either the identifying information of European
15
     individuals or reference Monsanto’s trade secrets or proprietary information about Roundup®
16
     product formulations.
17
            7.       Redactions of the identifying information of European individuals are necessary to
18
     comply with European data privacy law. Attached as Exhibit A to this Declaration is a declaration
19
     from Elisabeth Dehareng, an attorney knowledgeable in European Union data privacy law, that
20
     explains why Monsanto documents that contain communications with its European employees must
21
     be anonymized or redacted under European privacy laws. Monsanto values its important business
22
     relationship with its European affiliates and has been advised by its European counterparts of the
23
     need for these redactions. Monsanto shares the same interest in ensuring that the redactions, in full
24
     compliance with European Union data privacy law, are made. Accordingly, Monsanto has prepared
25
     proposed redactions of the personal identifying information of European individuals, including
26
     names, that are located on the following pages in the following documents:
27

28                                                    -2-
       DECLARATION OF BRIAN STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
      MOTION TO FILE UNDER SEAL PORTIONS OF EXHIBITS FILED IN SUPPORT OF MOTION TO EXCLUDE
       DR. BENBROOK; 3:16-MD-02741-VC; 3:19-CV-04102; 3:16-cv-05887; 3:16-cv-05658; 3:19-cv-04103;3:16-cv-
                 06046 3:16-cv-06025; 3:19-cv-04100; 3:16-cv-06024; 3:16-cv-05752;3:19-cv-04099
         Case 3:16-md-02741-VC Document 8506-1 Filed 12/20/19 Page 3 of 4



                 •   Pages 37, 92, 93, 94, 95, 96, 112, 114, 120, 121, 122, 130, 131, 170, 175, 176 –
 1
                     Expert Report of Dr. Charles Benbrook, dated August 20, 2019, for Giglio v.
 2
                     Monsanto Company, Northern District of California Case No. 3:16-cv-05658-VC,
 3
                     attached as Exhibit 6 to the Motion.
 4
                 •   Pages 396:10; 417:25; 419:3, 8; 445:5; 457:15; 459:18; 460:13; 465:14; 466:7;
 5
                     585:3; 645:8, 9, 21 – Deposition of Dr. Charles Benbrook, taken February 9, 2018,
 6
                     in Johnson v. Monsanto Company, Superior Court of California, San Francisco
 7
                     County Case No. CGC-16-550128, attached as Exhibit 9 to the Motion.
 8
                 •   Pages 5:4; 122:23-24, 160:23, 301:9, 21; 305:3, 4, 9, 12; 310:14; 335:22-23; 337:20,
 9
                     22; 338:1; 340:11, 19 – Deposition of Dr. Charles Benbrook, taken December 28,
10
                     2018, in Hardeman, et al. v. Monsanto Company, Northern District of California
11
                     Case No. 3:16-cv-00525-VC., attached as Exhibit 11 to the Motion.
12
                 •   Pages 58, 60, 107, 110, 111, 121, 129, 131, 132, 133, 134, 135, 161, 165, 166, 167,
13
                     202, 203 – Expert Report of Dr. Charles Benbrook, dated December 21, 2017, for
14
                     Johnson v. Monsanto Company, Superior Court of California, San Francisco County
15
                     Case No. CGC-16-550128, attached as Exhibit 12 to the Motion.
16
                 •   Pages 73:19, 25; 75:4; 342:19, 20; 345:2; 426: 5, 7, 8 – Deposition of Dr. Charles
17
                     Benbrook, taken May 23, 2018, for Hall, et al. v. Monsanto Company, St. Louis
18
                     City Case No. 1622-CC01071, attached as Exhibit 14 to the Motion.
19
            8.       Redactions of Monsanto’s trade secrets or proprietary information about Roundup®
20
     product formulations are necessary to protect that information. This information, which includes,
21
     for example, the specific ingredients and percentage of those ingredients in specific product
22
     formulations, is extremely valuable to Monsanto, is not public, and the public disclosure of such
23
     information would likely cause competitive harm to Monsanto.            Accordingly, Monsanto has
24
     prepared proposed redactions of its trade secrets or proprietary information about Roundup®
25
     product formulations in the following documents:
26

27

28                                                   -3-
       DECLARATION OF BRIAN STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
      MOTION TO FILE UNDER SEAL PORTIONS OF EXHIBITS FILED IN SUPPORT OF MOTION TO EXCLUDE
       DR. BENBROOK; 3:16-MD-02741-VC; 3:19-CV-04102; 3:16-cv-05887; 3:16-cv-05658; 3:19-cv-04103;3:16-cv-
                 06046 3:16-cv-06025; 3:19-cv-04100; 3:16-cv-06024; 3:16-cv-05752;3:19-cv-04099
         Case 3:16-md-02741-VC Document 8506-1 Filed 12/20/19 Page 4 of 4



                 •   Page 109 – Expert Report of Dr. Charles Benbrook, dated August 20, 2019, for
 1
                     Giglio v. Monsanto Company, Northern District of California Case No. 3:16-cv-
 2
                     05658-VC, attached as Exhibit 6 to the Motion.
 3
                 •   Page 151 – Expert Report of Dr. Charles Benbrook, dated December 21, 2017, for
 4
                     Johnson v. Monsanto Company, Superior Court of California, San Francisco County
 5
                     Case No. CGC-16-550128, attached as Exhibit 12 to the Motion.
 6
            9.       I declare under penalty of perjury under the laws of the United States of America that
 7
     the foregoing is true and correct.
 8
            Executed this 20th day of December, 2019.
 9

10
                                                   /s/ Brian L. Stekloff
11                                                 Brian L. Stekloff

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                    -4-
       DECLARATION OF BRIAN STEKLOFF IN SUPPORT OF MONSANTO COMPANY’S ADMINISTRATIVE
      MOTION TO FILE UNDER SEAL PORTIONS OF EXHIBITS FILED IN SUPPORT OF MOTION TO EXCLUDE
       DR. BENBROOK; 3:16-MD-02741-VC; 3:19-CV-04102; 3:16-cv-05887; 3:16-cv-05658; 3:19-cv-04103;3:16-cv-
                 06046 3:16-cv-06025; 3:19-cv-04100; 3:16-cv-06024; 3:16-cv-05752;3:19-cv-04099
